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AO 440 (Rey, 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of Washington

 

 

 

———————————

ALEXIS DUNLAP, individually and as Personal
Representative of the Estate of MiChance
Dunlap-Gittens; and FRANK GITTENS

 

Plaintiffis)
Vv.

KING COUNTY; MICHAEL GARSKE; TODD
MILLER; JOSEPH ESHOM; and REED JONES

Civil Action No, 19-cv-1535-JCC

 

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Defendant(s)
SUMMONS IN A CIVIL ACTION

‘To: (Defendant's name and address) Executive of King County
King County Chinook Building
401 Sth Avenue, Ste 800
Seattle, WA 98104

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: David B. Owens

Loevy & Loevy
100 S. King St. #100-748
Seattle, WA 98104

if you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 10/17/2019 TH 1

 
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PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 i)

This summons for (name of individual and title, if any) k Lhike COUNT

was received by me on (date) [ ‘0/. 25 VA) 19

(J I personally served the summons on the individual at wiace)

 

 

On date) ; or

 

© { left the summons at the individual’s residence or usual place of abode with (name)

 

, 4 person of suitable age and discretion who resides there,
, and mailed a copy to the individual’s last known address; or

EILG CoUTY AUTIT, OFFICE :
_ POSSELE PETHE LEfeAL CLE), Whois

designated by law to accept service of process on behalf of (name of organization)

 

On (date)

Rw I served the summons on (name of individual)

 

Ln County on due) 2/1 /70/4_ 300

{ I returned the summons unexecuted because

> oF

 

CV Other (specify):

87.50
My fees are $ 82 “BO ___ for travel and $ 5.00 _ for services, for a total of $ ; _ 800

I declare under penalty of perjury that this information is true.

Date: _ (2/3/3419. — Yhef (Lalo a

Séber 'S signature

LULUAEL Lythll huh / PLOCESS SEALE IL

Printed name and title

KiWT PROCESS SERVICES
P. O. BOX 4623
SPANAWAY, WA 98387.

Server's address puss. (253) 565-6670

 

Additional information regarding attempted service, etc:
